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SETTLEMENT AGREEMENT AND GENERAL RELEASE

I. PARTIES AND DEFINITIONS:

The Parties to this Settlement Agreement and General Release (“Agreement”)
are:

A. Jessica Mason, Michelle Cross, Allison Stebbing, the Estate of Jamie
Tencza, Andrea Conde, Cierra Sutton, Brickell Clark, Sireena Fortenberry Strong,
Allison Hamel, Rhea Wilson, Georgina Santich, and Aimee Trumpey (collectively
“Dancers”); and

B. Kevin Eardley (“Eardley”), Fantasy, LLC (“Fantasy”), Betty Lehr
(“Lehr”), and North Valley LLC (collectively “Defendants”).

The effective date of this Agreement (“Effective Date”) Shall be the date upon
which a composite ofthis Agreement executed by each Plaintiff and their counsel is
first circulated, by email, among the attorneys whose signatures lines appear below.

II. RECITALS:

A. The Dancers have made certain claims against Eardley and Fantasy, LLC
with respect to the Dancers’ working conditions at Fantasy, LLC, also known as
Fantasy Gentlernen’s Club. Eardley is the sole owner and operator of Fantasy, LLC, all
as more particularly described in the Second Amended and Verified Complaint and Jury
Demand filed in the United States District Court for the District of Colorado (“District
Court”), Case Number 2013-cv~02020-RM~KLM (“Dancers’ Lawsuit”). During the
pendency of this claim, Eardley (through 2257 Colex, LLC, the limited liability
company that owned the property upon with Fantasy operates), conveyed the property
to Eardley’s mother, Betty Lehr, which then conveyed it to North Valley, LLC. Betty
Lehr is the sole owner of North Valley, LLC.

B. On July 27, 2015, the United States District Court for the District of
Colorado ruled that the Dancers were employees, not independent contractors, within
the meaning of the Federal Fair Labor Standards Act (“FLSA”), and that Defendants
Eardley and Fantasy violated the FLSA by failing to pay Plaintiffs a minimum wage.
The decision is reported at Mason v. Fantasy, LLC, Civil Action No. l3-cv~02020~Rl\/[-
KLM, 2015 U.S. Dist. LEXIS 97640, at *37 (D. Colo. July 27, 20]5).

C. In order to avoid further litigation expense, and Without admission of
liability by any party, the Parties desire to mutually and amicably settle all claims and
controversies presently existing between them, as more specifically set forth below on
the terms and conditions of this Agreement.

III. COVENANTS:

In consideration of the mutual covenants Set forth herein, and for good and
valuable consideration, receipt of which is hereby acknowledged, the Parties agree as
follows:

 

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A. Subject to the complete performance of this Agreement by Defendants, the
Dancers, for themselves, their heirs, beneficiaries, executors, personal representatives,
administrators, legal representatives, agents, attorneys and assigns, hereby forever
release and discharge the Defendants, their parent companies, subsidiaries, affiliates,
successors, predecessors, assigns, patrons and their present and former agents,
employees, officers, directors, attorneys, patrons and representatives (“the Released
Parties”), from each and every claim of any kind, including attorney’s fees, Which they
may now have, or claims at any future time to have at any time up through the date of
the full execution ofthis Agreement, arising out of the Dancers’ Lawsuit. This
Agreement applies to all such claims, known or unknown, whether negligent or
intentional. Without limiting the generality ofthe foregoing, this Agreement also
applies to any and all such matters asserted, or which could have been asserted, in this
dispute, or in any other state or federal judicial or administrative forum, including but
not limited to the Equal Employment Opportunity Commission, up to the Effective
Date. Specifically, but not by way of limitation, it includes all claims or allegations
asserted or which could have been asserted by the Dancers or on their behalf in the
Dancers’ Lawsuit.

B. Subject to the complete performance of this Agreement by the Dancers,
Defendants hereby release and discharge the Dancers, their heirs, beneficiaries,
executors, personal representatives, administrators, legal representatives, agents,
attorneys and assigns, from any and all causes of action, actions, judgments, liens,
indebtedness, damages, losses, claims, liabilities and demands of whatsoever kind and
character, in any matter up to the Effective Date.

C. The parties understand and expressly agree that this Agreement extends to
all claims of every nature and kind, known or unknown, suspected or unsuspected, past,
present, or future, arising from, relating or attributable to any alleged act of any of the
Parties or any event occurring prior to the Effective Date, referred to herein or not.

D. The Parties understand and expressly agree that this Agreement shall bind
and benefit the heirs, beneficiaries, administrators, successors, and assigns of the
Dancers and Defendants, and each of them. The Parties further represent that they have
full and exclusive authority to release, discharge and covenant not to sue each other
pursuant to the terms of this Agreement, and that they have not assigned or transferred
in any way any claims against each other.

E. ln consideration of the promises and releases set forth in this Agreement,

1. Defendants shall deliver to Killmer, Lane & Newman, LLP
cashier’s checks, certified checks, or equivalents, each reflecting solely the name or
names of one or more of the Defendants as remitter, and each made payable to
KILLMER, LANE & NEWMAN, LLP COLTAF Trust Account as follows:

a. One Hundred Fifty Thousand and No/lOO Dollars
($lS0,000.00) on or before March 18, 20l7;

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b. One Hundred Fifty Thousand and No/l()() Dollars
($15(),000.00 on or before April 18, 2017;

c. One Hundred Fifty Thousand and No/l()() Dollars
($150,000.00) on or before May 18, 2017; AND

d. Fifty Thousand and No/lOO Dollars ($50,000.()0) to be paid
on or before June 18, 20l7.

F. As security for the payments set forth in Paragraph lll.E., above, and any
judgment entered pursuant to Paragraph lll.l., below, Defendants shall deliver to
Killmer, Lane & Newman, LLP, contemporaneously with their execution of this
agreement:

 

y 1. a promissory note, payable to Killmer, Lane & Newman, LLP, in
the form attached hereto as Exhibit A, executed by Eardley,
Fantasy, LLC, Lehr, and North Valley LLC, jointly and severally
(¢¢Notezi);

2. a deed of trust on the properties located at 2256 Colex Drive,
Grand Junction, Colorado, and 2258`Colex Drive, Grand Junction,
Colorado, (together, “the Properties”) in the form attached hereto
as Exhibit B, executed by Lehr and North Valley LLC (“Deed of
Trust”); and

3. A stipulation for entry ofjudgment which shall be held by
Plaintiffs’ counsel and may be filed if, and only if, Defendants fail
to make one or more payments in full required under this
Agreement, and such failure continues beyond the notice and cure
periods set forth herein. Upon the filing of the stipulation for entry
ofjudgment, the Court shall enter judgment against Defendants,
jointly and severally, and in favor of Plaintiffs, in the amount of
one and one-half (l .5) times the balance that remains due at the
time of default.

 

Killmer, Lane & Newman, LLP shall cause the Deed of Trust to be recorded in the
Office of the Clerk and Recorder of Mesa County, Colorado.

G. Lehr represents that as of the Effective Date, the Properties are titled in
the name of and North Valley LLC, of which she is the sole owner, and are subject to
no deeds oftrust or other consensual liens. After the Effective Date, Lehr shall not
execute any deed of trust or consensual lien in respect to the Properties until all
payments required by this Agreement have been made. Within fourteen (14) days after
the last payment required under this Agreement has been made, Killmer, Lane, &
Newman, LLP shall release the Deed of Trust and return the original Note to
Defendants’ counsel.

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H. In the event of prepayment by Defendants of any settlement amounts
under Paragraph III.E, there shall be no penalty and no acceleration of future payments
due under the schedule in Paragraph lII.E.

ln the event that Defendants fail to timely make any of the above payments, the Dancers
or their counsel shall so notify attorney Marcel Krzystek, Esq. (by email at:
mkrzystek@jgllp.com) and Defendants shall have ten (lO) days from the date such
notice is given within which to make payment. Should Defendants fail to make
payment within ten days of the date such notice was given, Defendants voluntarily
confess to the entry ofjudgment against them as set forth in Section III.F(S) above and
Exhibit l attached hereto, jointly and severally, in the Dancers’ Lawsuit (or the Denver
District Court as set forth below) in the amount of l.5 times the balance that remains
due at the time of default. Said judgment shall provide that the Dancers shall also be
entitled to interest at the rate of 8% per annum, compounded annually, from the date of
default, along with all of their costs and attorney’s fees arising out of their efforts to
collect the judgment.

I. The Parties shall jointly request that the Dancers’ Lawsuit be held in
abeyance and administratively closed, pending Defendants’ performance of their
obligations under this Agreement. ln the event that the District Court declines such
abeyance and administrative closure and requires dismissal of the Dancers’ Lawsuit,
Defendants hereby consent to the jurisdiction of the Denver District Court for purposes
of enforcement of this Agreement, including the entry ofjudgment as set forth above.

J. After Defendants have fully satisfied their obligations under this
Agreement and Note is paid in full, the Parties Will file ajoint motion to dismiss With
prejudice all claims in the Dancers’ Lawsuit, if it has not already been dismissed.

K. Except as set forth in Paragraph III.H. above, and in the Note and‘Deed of
Trust, each Party Will bear his, her or its own costs and attorneys’ fees and costs in
connection With this matter.

L. This Agreement shall be interpreted in accordance with the plain meaning
of its terms and not strictly for or against any Party hereto.

M. This Agreement constitutes the entire understanding and agreement among
the Dancers and Defendants, and supersedes any other agreement by or among them.
Any modification of this Agreement must be in Writing and signed by all Parties.

N. The Parties understand that this is the final and exclusive Settlement
Agreement of all possible claims arising out of the matters described in Section ll
above. The Parties are relying on no promises, guarantees, representations, written or
oral, expressed or implied, outside of this Agreement; rather, each Party in entering into
this Agreement relies solely on the terms of this Agreement and the legal remedies for
breach of contract, Which may be available, if any Party fails to fulfill any obligation
under this Agreement.

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(). The Parties represent that they have read this Agreement, discussed it with
their respective attorneys, and understand each of the terms of this Agreement. The
Parties further represent that they have entered into the settlement and executed this
Agreement voluntarily and willingly.

P. This Agreement may be executed in multiple identical counterparts,
which, when considered together, shall constitute the entire agreement of the Parties.
Further, the Parties may exchange signatures through facsimiles of optical scanned
copies of the original signatures, and such reproduced signatures will be as effective as
the originals.

[REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]

 

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BX Plaintiffs:

 

 

 

 

 

 

 

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By Plaintiffs:

 

 

 

 

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CaS€ 1213-CV-02020-R|\/|-KL|\/|

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By Plaintiffs:

 

Jessica Mason

 

Michelle Cross

 

Allison Stebbing

 

Sharon Varrieur, as Personal Representative
of the Estate of Jamie Tencza

 

Andrea Conde

 

Cierra Sutton

 

Brickell Clark

 

Georgina Santich

 

Sireena Fortenberry Strong

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Rhea Wilson

 

Allison Hamel

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By Plaintiffs:t

 

Jessica Mason

 

Michelle Cross

 

Allison Stebbing

 
 
    

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Sharon Varrieur, as Persona Representative
ofthe Estate of Jamie Tencza

 

 

Andrea Conde

 

Cierra Sutton

 

Brickell Clark

 

Georgina Santich

 

Sireena Fortenberry Strong

 

Aimee Trumpey

 

Rhea Wilson

 

Allison Hamel

Case 1:13-cv-02020-RI\/|-KLI\/|, Document 140 Filed 03/01/17 USDC Co|orado Page 16 Of 19

 

 

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Case 1:13-cV-02020-R|\/|-KL|\/| Document 140 Filed 03/01/17 USDC Co|orado Page18 of 19

By Defendants:

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Kevin Eardley Dated
Pantasy, LLC

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Kevin Eardle‘f/ sole and managingv/ F*/"’*"»¥' “°’Dated
member of Pantasy, LLC

,&W .>/¢~Z/\/ ,» Aw&v @wm,~ //719 lea/2

Betty Lehr Dated

>H¢W}/ o{/L/). /¢:'L, 002/rm M/?w¢"/L“M7/U'" /l/a’?,/¢Yd/`//'
Betty Lehr sole owner of North Val[ley LLC Dated

p.l

 

Case 1:13-cV-02020-R|\/|-KL|\/| Document 140 Filed 03/01/17 USDC Co|orado Page 19 of 19

Agproved as to Form:
For Plaintiffs:

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Mari Newm j Dated/
Darold W. llmer ~

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Denver, CO 80202

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For Defe nts:

//§<1///7/

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